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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


   OSAMA ABU IRSHAID, et al.,

                           Plaintiffs,

              v.                                           No. 1:24-cv-1405 (MSN/WBP)

   PAMELA BONDI, United States Attorney
   General, et al.,

                           Defendants.


                              JOINT PROPOSED DISCOVERY PLAN

         The parties, pursuant to Federal Rules of Civil Procedure 16(b) and 26(f), respectfully submit

  this Joint Proposed Discovery Plan to the Court.

  1.     The parties have conferred pursuant to Fed. R. Civ. P. 26(f) regarding the conduct of discovery
         in this case, and they respectfully propose that the Court adopt the schedule and provisions
         described below.

  2.     Initial Disclosures. The parties will exchange disclosures required by Fed. R. Civ. P. 26(a)(1)(A)
         by July 9, 2025.

  3.     Joinder of Parties. The parties do not anticipate the joinder of additional parties.

  4.     Amendment of Pleadings. The parties do not anticipate the filing of amended pleadings.

  5.     Discovery.

         a.        Any discovery to be undertaken will be commenced in time to be completed by the
                   close of discovery in this case on October 10, 2025, pursuant to the Court’s order of
                   May 30, 2025 (Dkt. 47).

         b.        Interrogatories: Each party may serve to any other party a maximum of thirty (30)
                   interrogatories, including parts and subparts, without leave of court.

         c.        Depositions: Each party may take a maximum of five (5) non-party, non-expert
                   depositions, without leave of court. Each deposition shall be limited to a maximum of
                   one (1) day of seven (7) hours of actual testimony, unless extended by agreement of
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               the parties or order of the Court. The parties agree that they will make reasonable
               efforts to agree on dates for any depositions convenient to the deponent, counsel, and
               the parties. Unless the parties agree otherwise in writing, notice of any deposition will
               be given at least eleven (11) days before the scheduled date of the deposition,
               consistent with Local Rule 30(H).

        d.     Document Subpoenas: The parties agree that if any documents are received from
               third parties pursuant to subpoena or FOIA request that is relevant to this case, the
               receiving party shall alert the remaining parties to the receipt of such documents
               within five (5) days of receipt and shall make the received documents available for
               inspection and copying.

  6.    Expert Witnesses.

        a.     Plaintiffs shall disclose any experts who may be called to testify at trial and provide
               reports called for in Fed. R. Civ. P. 26(a)(2)(B) on or before July 30, 2025.

        b.     Defendants shall disclose any experts who may be called to testify at trial and provide
               reports called for in Fed. R. Civ. P. 26(a)(2)(B) on or before September 1, 2025.

        c.     Plaintiffs shall disclose any contradictory evidence or rebuttal to Defendants’
               disclosures on or before September 15, 2025.

  7.    Electronically Stored Information (“ESI”). The following standards will apply to the
        production of ESI:

        The parties will produce ESI in PDF format. Unless the parties agree otherwise in writing or
        unless the responsive documents are unsuited to static imaging, such as Excel spreadsheets,
        producing ESI in native format is unnecessary. The producing party shall maintain the
        electronic information in electronic format and the parties shall reasonably preserve
        electronically stored information until the resolution of this lawsuit. To the extent that the
        printed or PDF document does not indicate information that may be important (such as the
        date, location, and specific terminal on which the document was created or modified; the
        sender and all recipients of electronically transmitted data; and the locations of the terminals
        on which it is stored), the parties will, upon request related to particular documents and if
        technologically feasible, determine that information from the electronic document and provide
        it to the requesting party.

        The parties are also required to preserve the metadata of all original ESI. The producing party
        shall not change any information within the content of any electronically stored information,
        including its metadata. “Metadata” includes file attributes such as file owner, creation date,
        modification date, and (for emails) to/from/cc/bcc. Except with regard to information
        protected by privilege, law-enforcement sensitivity, or classified status, the parties agree to
        produce ESI without any modification or change (including to its title or content); provided,
        however, the producing party may modify the file name by inserting a Bates number at the
        beginning of the file name or at the bottom of the document (if not produced in native format).
        If a party receives a particular ESI document or file during the course of discovery and has a


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        reasonable and articulable reason for requesting the native format or metadata associated with
        that PDF or other ESI, the receiving party may request the native format or metadata from
        the producing party. A producing party will accommodate such reasonable requests to the
        extent practicable but the parties reserve the right to object to any such requests or seek to
        compel production.

  8.    Issues Regarding Privilege.

        a.      Inadvertent Disclosure: Any disclosure of privileged, work-product protected, or other
                protected information as part of a production is not a waiver in the pending case or in
                any other federal or state proceeding or arbitration. This agreement of the parties and
                by order of the Court establishes the parties’ intention to retain the confidentiality of
                all privileged materials pursuant to Federal Rule of Evidence 502 regardless of the
                circumstances of disclosure and otherwise afford the maximum protection allowed by
                Federal Rule of Evidence 502(d) and (e) and analogous law and rules of any other state
                or court.

        b.      Privilege Logs: Unless otherwise agreed in writing, the parties shall serve a privilege
                log pursuant to Fed. R. Civ. P. 26(b)(5) within ten (10) business days of the written
                response to a request for documents. The privilege log shall identify: (a) the date of
                the privileged information; (b) the author(s) of the privileged information; (c) the
                recipient(s) of the privileged information; (d) the subject matter of the privileged
                information; and (e) the basis of the claim of privilege. Communications between trial
                counsel and their respective clients are not subject to discovery absent a specific need
                shown and order of the Court, and therefore no privilege log is required for such
                communications.

        c.      Privileged Communications Between Counsel, or Between Parties and Their Counsel:
                The parties agree that they shall not seek discovery of documents created after the
                filing of Plaintiff’s lawsuit in the Eastern District of Virginia that are privileged because
                they are sent solely between counsel for a particular party, that are privileged because
                they are sent between a party and that party’s counsel, or that are privileged because
                they were generated at the direction of counsel or reflect counsel’s attorney work
                product. If any discovery request is susceptible of a construction that calls for the
                production of such documents, those documents need not be produced or identified
                on any privilege log.

  9.    Deposition Designations. Pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(ii), the
        parties shall file deposition designations, if any, 14 days before the trial date, with any opposing
        party objections due seven days later.

  10.   Preservation and Retention of Documents. Counsel for the parties have instructed their clients
        to retain and preserve documents, information, and things (including ESI) that may be relevant
        to the subject matter of this lawsuit.

  11.   Service of Pleadings, Motions, Other Papers, and Discovery Requests and Responses. All
        pleadings, motions, and other papers that are filed are to be served electronically as provided


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            for by the Federal Rules and the Local Rules. In addition, the parties agree that they will serve
            by email or electronic file transfer all discovery requests and written responses and any other
            papers that are not filed, unless doing so is not technically feasible, in which case those
            documents will be served via first-class mail or overnight delivery.

  12.       Settlement. The parties remain open to discussing settlement of this matter. If the parties reach
            a point where they believe that their discussions may be aided by a settlement conference with
            the presiding Magistrate Judge, they will arrange to schedule such a conference at a time
            convenient for the Court.

  13.       Trial Before Magistrate. The parties do not consent to the trial of this matter by a United States
            Magistrate Judge.

  14.       Waiver of Rule 16(b) Pretrial Conference. Because the parties are in agreement on the Joint
            Proposed Discovery Plan, the parties, through counsel, jointly request that the Rule 16(b)
            initial pretrial conference scheduled for June 25, 2025, at 11:00 am be cancelled.


        Dated: June 18, 2025                                Respectfully submitted,

                                                            ERIK S. SIEBERT
                                                            UNITED STATES ATTORNEY

                        /s/                                                 /s/
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